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 5
                                                                       CLERK U.S. BANKRUPTCY COURT

 6   Counsel For Defendant Payliance                                   Central District of California
                                                                       BY bolte      DEPUTY CLERK


 7
 8
                                   UNITED STATES DISTRICT COURT
 9
                                 CENTRAL DISTRICT OF CALIFORNIA
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                                            SANTA ANA DIVISION
11
      In re:                                              Case No. 8:23-bk-10571-SC
12
      THE LITIGATION PRACTICE GROUP,                      Adv. Proc. No. 8-23-ap-01046-SC
13    P.C.,
                                                          Chapter 11
14                            Debtor.
                                                          ORDER APPROVING STIPULATION TO
15                                                        EXTEND TIME TO RESPOND TO
                                                          SECOND AMENDED COMPLAINT
16    RICHARD A. MARSHACK,
                                                          Date: [No Hearing Required]
17    Chapter 11 Trustee,                                 Time:
                                                          Place:
18
                          Plaintiff,
19
      v.
20
      TONY DIAB, et al.,
21

22                            Defendants.
23

24
25             The Court, having read and considered the Stipulation to Extend Time to Respond to

26   Second Amended Complaint between Defendant Payliance filed November 1, 2023 [Dk. 257]

27   (“Stipulation”) and good cause appearing, IT IS HEREBY ORDERED that:

28             1. The Stipulation is approved.
                                                      1
                                  ORDER APPROVING STIPULATION TO
                        EXTEND TIME TO RESPOND TO SECOND AMENDED COMPLAINT
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                                Main Document Page 2 of 2


 1           2. The deadline for Payliance to file and serve any response to Plaintiff’s Second

 2              Amended Complaint is extended to December 4, 2023.
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24   Date: November 8, 2023

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                                                      2
                                 ORDER APPROVING STIPULATION TO
                       EXTEND TIME TO RESPOND TO SECOND AMENDED COMPLAINT
